                Case 2:12-cr-00250-GEB Document 69 Filed 06/26/14 Page 1 of 3


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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:12-CR-250-TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   XAVIER L. JOHNSON,                                  DATE: June 26, 2014
     KRISTIN M. CALDWELL,                                TIME: 9:30 a.m.
15   WILLIAM L. BROWN,                                   COURT: Hon. Troy L. Nunley
16                                Defendants.
17

18                                               STIPULATION

19         1.       By previous order, this matter was set for status on June 26, 2014.

20         2.       By this stipulation, defendants now move to continue the status conference until August

21 21, 2014, at 9:30 a.m. and to exclude time between June 26, 2014, and August 21, 2014, under Local

22 Code T4.

23         3.       The parties agree and stipulate, and request that the Court find the following:

24                  a)     The government has represented that the discovery associated with this case

25         includes several hundred pages and computer forensic review materials. All of this discovery has

26         been either produced directly to counsel and/or made available for inspection and copying.

27                  b)     Counsel for defendants desire additional time to review the discovery, discuss

28         proposed resolutions with their clients, and consider pre-trial motions.


      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     1
30    ORDER
                 Case 2:12-cr-00250-GEB Document 69 Filed 06/26/14 Page 2 of 3


 1                   c)     Counsel for defendants believe that failure to grant the above-requested

 2          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                   d)     The government does not object to the continuance.

 5                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of June 26, 2014 to August 21, 2014,

10          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

11          because it results from a continuance granted by the Court at defendants’ request on the basis of

12          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

13          of the public and the defendant in a speedy trial.

14          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.

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     Dated: June 24, 2014                                      BENJAMIN B. WAGNER
19                                                             United States Attorney
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                                                               /s/ MATTHEW G. MORRIS
21                                                             MATTHEW G. MORRIS
                                                               Assistant United States Attorney
22

23 Dated: June 24, 2014                                        /s/ KYLE KNAPP (auth. 6/24/14)
                                                               KYLE KNAPP
24
                                                               Counsel for Defendant
25                                                             XAVIER JOHNSON

26
     Dated: June 24, 2014                                      /s/ KELLY BABINEAU (auth. 6/24/14)
27                                                             KELLY BABINEAU
                                                               Counsel for Defendant
28                                                             KRISTIN CALDWELL

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND       2
30    ORDER
             Case 2:12-cr-00250-GEB Document 69 Filed 06/26/14 Page 3 of 3


 1 Dated: June 24, 2014                                    /s/ WILLIAM DUBOIS (auth. 6/24/14)
                                                           WILLIAM DUBOIS
 2                                                         Counsel for Defendant
 3                                                         WILLIAM BROWN

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                                           FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 25th day of June, 2014.
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12                                            Troy L. Nunley
                                              United States District Judge
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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND    3
30   ORDER
